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               EXHIBIT 1
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                                          ACT #2022 -
      1    SB184

      2    216600-4

      3    By Senators Shelnutt and Allen
      4    RFD: Healthcare
      5    First Read: 03-FEB-22




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                                      SB134



 1    SB184

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 4    ENROLLED, An Act,

 5                 Relating to public health; to prohibit the

 6   performance of a medical procedure or the prescription of

 7   medication, upon or to a minor child,       that is intended to

 8   alter the minor child’s gender or delay puberty; to provide

 9    for exceptions; to provide for disclosure of certain

10    information concerning students to parents by schools; and to

11   establish criminal penalties for violations; and in connection

12    therewith would have as its purpose or effect the requirement

13   of a new or increased expenditure of local funds within the

14   meaning of Amendment 621 of the Constitution of Alabama of

15    1901, as amended by Amendment 890,      now appearing as Section

16    111.05 of the Official Recompilation of the Constitution of

17   Alabama of 1901, as amended.

18   BE IT ENACTED BY THE LEGISLATURE OF ALABAMA;

19                 Section 1. This act shall be known and may be cited

20   as the Alabama Vulnerable Child Compassion and Protection Act

21    (V-CAP).

22                 Section 2. The Legislature finds and declares the

23    following:

24                 (1) The sex of a person is the biological state of

25   being female or male, based on sex organs, chromosomes, and




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                                      SB1.84



 1    endogenous hormone profiles, and is genetically encoded into a

 2    person at the moment of conception, and it cannot be changed.

 3               (2)   Some individuals.   including minors, may

 4    experience discordance between their sex and their internal

 5    sense of identity. and individuals who experience severe

 6    psychological distress as a result of this discordance may be

 1    diagnosed with gender dysphoria.

 8               (3) The cause of the individual's impression of

 9    discordance between sex and identity is unknown, and the

10    diagnosis is based exclusively on the individual's self-report

11    of feelings and beliefs.

12               (4) This internal sense of discordance is not

13    permanent or fixed. but to the contrary, numerous studies have

14    shown that a substantial majority of children who experience

15    discordance between their sex and identity will outgrow the

16    discordance once they go through puberty and will eventually

17    have an identity that aligns with their sex.

18               (5) As a result,   taking a wait-and-see approach to

19    children who reveal signs of gender nonconformity results in a

20    large majority of those children resolving to an identity

21    congruent with their sex by late adolescence.

22               (6)   Some in the medical community are aggressively

23    pushing for interventions on minors that medically alter the

24    child's hormonal balance and remove healthy external and




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 1    internal sex organs when the child expresses a desire to

 2    appear as a sex different from his or her own.

 3               (7) This course of treatment for minors commonly

 4    begins with encouraging and assisting the child to socially

 5    transition to dressing and presenting as the opposite sex. In

 6    the case of prepubertal children, as puberty begins, doctors

 7    then administer long-acting GnRH agonist (puberty blockers)

 8    that suppress the pubertal development of the child. This use

 9    of puberty blockers for gender nonconforming children is

10    experimental and not FDA-approved.

11               (8) After puberty blockade,    the child is later

12    administered "cross-sex" hormonal treatments that induce the

13    development of secondary sex characteristics of the other sex,

14    such as causing the development of breasts and wider hips in

15   male children taking estrogen and greater muscle mass, bone

16    density, body hair, and a deeper voice in female children

17    taking testosterone. Some children are administered these

18    hormones independent of any prior pubertal blockade.

19               (9) The final phase of treatment is for the

20    individual to undergo cosmetic and other surgical procedures.

21    often to create an appearance similar to that of the opposite

22    sex. These surgical procedures may include a mastectomy to

23    remove a female adolescent's breasts and "bottom surgery" that

24    removes a minor's health reproductive organs and creates an




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 1    artificial form aiming to approximate the appearance of the

 2    genitals of the opposite sex.

 3               (10) For minors who are placed on puberty blockers

 4    that inhibit their bodies from experiencing the natural

 5    process of sexual development, the overwhelming majority will

 6    continue down a path toward cross-sex hormones and cosmetic

 7    surgery.

 8               (11) This unproven, poorly studied series of

 9    interventions results in numerous harmful effects for minors,

10    as well as risks of effects simply unknown due to the new and

11    experimental nature of these interventions.

12               (12) Among the known harms from puberty blockers is

13   diminished bone density; the full effect of puberty blockers

14    on brain development and cognition are yet unknown,      though

15    reason for concern is now present. There is no research on the

16    long-term risks to minors of persistent exposure to puberty

17   blockers. With the administration of cross-sex hormones comes

18    increased risks of cardiovascular disease,     thromboembolic

19    stroke, asthma, COPD, and cancer.

20               (13) Puberty blockers prevent gonadal maturation and

21    thus render patients taking these drugs infertile. Introducing

22   cross-sex hormones to children with immature gonads as a

23   direct result of pubertal blockade is expected to cause

24    irreversible sterility. Sterilization is also permanent for

25    those who undergo surgery to remove reproductive organs, and




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 1    such persons are likely to suffer through a lifetime of

 2    complications from the surgery, infections, and other

 3    difficulties requiring yet more medical intervention.

 4               (14) Several studies demonstrate that hormonal and

 5    surgical interventions often do not resolve the underlying

 6   psychological issues affecting the individual. For example.
 7    individuals who undergo cross-sex cosmetic surgical procedures

 8   have been found to suffer from elevated mortality rates higher

 9    than the general population. They experience significantly

10    higher rates of substance abuse, depression, and psychiatric

11   hospitalizations.

12               (15) Minors, and often their parents, are unable to

13   comprehend and fully appreciate the risk and life

14    implications, including permanent sterility, that result from

15    the use of puberty blockers. cross-sex hormones, and surgical

16   procedures.

17               (16) For these reasons.      the decision to pursue a

18   course of hormonal and surgical interventions to address a

19   discordance between rhe individual's sex and sense of identity

20   should not be presented to or determined for minors who are

21   incapable of comprehending the negative implications and
22   life-course difficulties attending to these interventions.

23               Section 3. For the purposes of this act,      the
24   following terms shall have the following meanings:




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 1               (1) MINOR. The same meaning as in Section 43-8-1,

 2    Code of Alabama 1975.

 3               (2)   PERSON. Includes any of the following:

 4               a. Any individual.

 5               b. Any agent, employee, official,     or contractor of

 6    any legal entity.

 7               c. Any agent, employee, official, or contractor of a

 8    school district or the state or any of its political

 9    subdivisions or agencies.

10               {3)   SEX. The biological state of being male or

11    female, based on the individual’s sex organs.      chromosomes, and

12    endogenous hormone profiles.

13               Section 4.   (a) Except as provided in subsection    (b),

14    no person shall engage in or cause any of the following

15   practices to be performed upon a minor if the practice is

16   performed for the purpose of attempting to alter the

17    appearance of or affirm the minor's perception of his or her

18   gender or sex, if that appearance or perception is

19    inconsistent with the minor's sex as defined in this act:

20               (1)   Prescribing or administering puberty blocking

21   medication to stop or delay normal puberty.

22               (2)   Prescribing or administering supraphysiologic

23   doses of testosterone or other androgens to females.
24               (3)   Prescribing or administering supraphysiologic
25   doses of estrogen to males.




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 1                 (4)   Performing surgeries that sterilize, including

 2    castration, vasectomy, hysterectomy, oophorectomy.

 3    orchiectomy, and penectomy.

 4                 (5)   Performing surgeries that artificially construct

 5    tissue with the appearance of genitalia that differs from the

 6    individual’s sex,      including metoidioplasty, phalloplasty, and
 7   vaginoplasty.

 8                 (6) Removing any healthy or non-diseased body part

 9   or tissue, except for a male circumcision.

10                 (b) Subsection (a) does not apply to a procedure

11   undertaken to treat a minor born with a medically verifiable

12   disorder of sex development, including either of the

13    following:

14                 (1) An individual born with external biological sex

15   characteristics that are irresolvably ambiguous, including an

16    individual born with 46 XX chromosomes with virilization, 46

17   XY chromosomes with under virilization, or having both ovarian

18   and testicular tissue.

19                 (2) An individual whom a physician has otherwise

20   diagnosed with a disorder of sexual development.       in which the

21   physician has determined through genetic or biochemical

22    testing that the person does not have normal sex chromosome

23   structure,    sex steroid hormone production, or sex steroid

24   hormone action for a male or female.

25                 (c) A violation of this section is a Class C felony.




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 1               Section 5. No nurse, counselor,     teacher, principal,
 2    or other administrative official at a public or private school

 3    attended by a minor shall do either of the following:

 4                  (1) Encourage or coerce a minor to withhold from the

 5    minor's parent or legal guardian the fact that the minor's

 6    perception of his or her gender or sex is inconsistent with

 7    the minor's sex.

 8               (2) Withhold from a minor's parent or legal guardian

 9    information related to a minor's perception that his or her

10    gender or sex is inconsistent with his or her sex.

11               Section 6. Except as provided for in Section 4,

12    nothing in this act shall be construed as limiting or

13    preventing psychologists, psychological technicians, and

14    master's level licensed mental health professionals from

15    rendering the services for which they are qualified by

16    training or experience involving the application of recognized

17    principles, methods, and procedures of the science and

18    profession of psychology and counseling.

19               Section 7. Nothing in this section shall be

20    construed to establish a new or separate standard of care for

21    hospitals or physicians and their patients or otherwise
22    modify, amend, or supersede any provision of the Alabama

23    Medical Liability Act of 1987 or the Alabama Medical Liability
24    Act of 1996, or any amendment or judicial interpretation of

25    either act.




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 1               Section 8. If any part,         section, or subsection of

 2    this act or the application thereof to any person or

 3    circumstances is held invalid, the invalidity shall not affect

 4    parts, sections, subsections, or applications of this act that

 5    can be given effect without the invalid part,          section.

 6    subsection, or application.

 7               Section 9. This act does not affect a right or duty

 8    afforded to a licensed pharmacist by state law.

 9               Section 10. Although this bill would have as its

10    purpose or effect the requirement of a new or increased

11    expenditure of local funds, the bill is excluded from further

12    requirements and application under Amendment 621, as amended

13    by Amendment 890,   now appearing as Section 111.05 of the

14    Official Recompilation of the Constitution of Alabama of 1901,

15    as amended, because the bill defines a new crime or amends the

16    definition of an existing crime.

17               Section 11. This act shall become effective 30 days

18    following its passage and approval by the Governor, or its

19    otherwise becoming law.




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 4                President and Presiding Officer of the Senate



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 6                    Speaker of the House of Representatives



 7    SB184
 8    Senate 23-FEB-22
 9    I hereby certify that the within Act originated in and passed
10    the Senate, as amended.
11
12                                      Patrick Harris,
13                                      Secretary.
14
15


16
17    House of Representatives
18    Passed: 07-APR-22
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21    By: Senator Shelnutt



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